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    6                       UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
    7                            SOUTHERN DIVISION
    8
    9    MISS GLOBAL ORGANIZATION LLC , et al. Case
                                                   No.: 8:17−cv−02223−DOC−KES
    10                  Plaintiff(s),
                                                   SCHEDULING ORDER & ORDER
    11          vs.                                RE: PRETRIAL AND TRIAL
         SOKHUNTEA MAK , et al.                    PROCEDURES
    12
    13                                             Fact Discovery Cut-Off:
    14                 Defendant(s).               March 15, 2019
    15                                             Motion Cut-Off:
    16                                             May 6, 2019 at 08:30 AM
    17                                             Final Pretrial Conference:
    18                                             June 17, 2019 at 08:30 AM
    19                                             Trial:
    20                                             July 23, 2019 at 08:30 AM
    21
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    25          This Scheduling Order governs the course of all pretrial and trial proceedings

    26    in this case. For further guidance, consult the Federal Rules of Civil Procedure
    27    and the Local Rules.
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              I.     Court Appearances
    2         Parties shall be represented at all court appearances by lead counsel, the
    3    counsel expected to be in charge of conducting trial on behalf of the parties. The
    4    parties (or counsel) must appear in person for hearings and conferences before

    5    the Court. The Court does not permit telephonic appearances.
    6         Under no circumstances should counsel, or a party if the party is appearing
    7    pro se, fail to appear at a court appearance unless their appearance has been waived
    8    by prior order of the Court. Even if the parties have reached a settlement, counsel
    9    for all parties, or the party if appearing pro se, must appear at court appearances
    10   until a stipulation of dismissal signed by all parties has been lodged with the Court.
    11        II. Settlement
    12        If the parties have agreed to appear before a neutral selected from the Court’s

    13   Mediation Panel (ADR Procedure No. 2) or to participate in private mediation
    14   (ADR Procedure No. 3), the parties shall notify the Court of the name and contact
    15   information of the mediator within twenty-one (21) days of this Order if they have
    16   not already done so in their Rule 26(f) report.
    17        If settlement is reached at any time in this litigation, the parties shall

    18   immediately notify the Court by telephone, email, or by filing a notice of settlement.

    19   Local Rule 40-2. The Court’s Courtroom Deputy Clerk can be reached at (714) 338-

    20   4543. The Court’s email address is DOC_Chambers@cacd.uscourts.gov.
    21        III.    Joinder of Parties and Amendment of Pleadings
    22        All motions to join other parties (including Doe or Roe defendants) or to
    23   amend the pleadings shall be filed and served within sixty (60) days of the date
    24   of this Order and noticed for hearing within ninety (90) days of this Order.

    25        IV. Discovery Cut-Off

    26        The Court has established a cut-off date for discovery in this action. All
    27   discovery is to be completed on, or prior to, the cut-off date. Plan now to complete
    28   discovery on the schedule set; a continuance is unlikely. Accordingly, the

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         following discovery schedule shall apply in this Court:
    2          (1)   Depositions: All depositions shall be scheduled to commence at least
    3                five (5) working days prior to the discovery cut-off date. A deposition
    4                which commences five (5) days prior to the discovery cut-off date

    5                may continue beyond the cut-off date, as necessary.
    6          (2)   Written Discovery: All interrogatories, requests for production of
    7                documents, and requests for admissions shall be served at least forty-
    8                five (45) days before the discovery cut-off date. The Court will not
    9                approve stipulations between counsel that permit responses to be
    10               served after the cut-off date except in unusual circumstances and upon
    11               a showing of good cause.
    12         (3)   Discovery Motions: Any motion regarding the inadequacy of responses

    13               to discovery must be filed and served no later than five (5) days after
    14               the discovery cut-off date. Routine discovery motions will be referred
    15               to the magistrate judge assigned to the case. Whenever possible, the
    16               Court expects counsel to resolve discovery disputes among themselves
    17               in a courteous, reasonable, and professional manner. Repeated resort to

    18               the Court for guidance in discovery is unnecessary and may result in

    19               the Court appointing a Special Master at the joint expense of the parties

    20               to resolve discovery disputes. The Court expects that counsel will
    21               strictly adhere to the Civility and Professional Guidelines adopted by
    22               the United States District Court for the Central District of California.
    23         (4)   Disclosure of Expert Testimony: The above discovery cut-off date
    24               includes expert discovery, unless otherwise ordered by the Court, and the

    25               Court orders the sequence of disclosures as provided by Fed. R. Civ.

    26               Proc. 26(a)(2)(D), unless the parties otherwise stipulate in writing
    27               and obtain the Court’s approval.
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              V. Protective Orders and Under Seal Filings
    2         All protective orders are to be noticed before the magistrate judge assigned
    3    to your case, unless otherwise ordered by Court.
    4         Stipulated Protective orders or confidentiality orders generally do not control

    5    under seal filings. Applications for under seal filings must state with specificity the
    6    basis for protection and should not rely exclusively on the existence of a protective
    7    order. See Judge Carter’s Initial Standing Order for more information.
    8         VI.     Motions Generally
    9         Counsel should note the timing and service requirements of Local Rules 6
    10   and 7 and its subparts including:
    11        (1)    Rule 6-1: Notice of motion and the moving papers must be filed
    12               and served twenty-eight (28) days before the noticed hearing date,

    13               unless the notice is served by mail, in which case service is required
    14               thirty-one (31) days prior to the noticed hearing date;
    15        (2)    Rule 7-9: Opposing papers shall be filed twenty-one (21) calendar
    16               days before the hearing date; and
    17        (3)    Rule 7-10: Reply papers, if any, shall be filed fourteen (14) calendar

    18               days before the hearing date.

    19        (4)    Rule 7-11: If the hearing date is continued, the deadlines for filing

    20               opposing and reply papers are automatically extended unless the
    21               Court orders otherwise.
    22        Counsel must comply with the timing requirements of the Local Rules so that
    23   chambers can properly prepare for motion matters.
    24        VII.    Motions for Summary Judgment

    25        The motion cut-off date is the day that the Court will hear motions for

    26   summary judgment. Thus, motions must be filed several weeks in advance of this
    27   date as required by Local Rule 6.
    28        In general, the Court will hear only one motion for summary judgment per

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         party. Cross motions for summary judgment will all be heard on the same day,
    2    after the close of discovery. In other words, the Court will not entertain piecemeal
    3    motions for partial summary judgment before the factual record is complete.
    4         All motions (except motions in limine dealing with admissibility of

    5    evidence) must be disposed of before the Final Pretrial Conference.
    6                A.    Moving Party’s Statement of Uncontroverted Facts and
    7                      Conclusions of Law
    8         The uncontroverted facts shall be set forth in a two column format. The left
    9    hand column shall set forth the allegedly undisputed fact. The right hand column
    10   shall set forth the evidence that supports the factual statement. The fact statements
    11   shall be set forth in sequentially numbered rows. Each cell should contain a
    12   narrowly focused statement of fact, and address a single subject in as concise a

    13   manner as possible.
    14                                     SUF Example
    15     SUF #/ Undisputed Fact                         Evidence
    16     #1 (Moving party’s first undisputed fact)      (citations to supporting evidence)

    17     #2 (Moving party’s second undisputed fact) (citations to supporting evidence)

    18               B.   Opposing Party’s Statement of Genuine Disputes of
    19                     Material Fact

    20        The first part of the opposing party’s Statement of Genuine Disputes shall
    21   track the moving party’s Statement of Uncontroverted Facts. It shall be set forth

    22   in a two column format. The left hand column shall restate the allegedly undisputed

    23   fact and supporting evidence, and the right hand column shall state either that the
    24   fact is undisputed or disputed. The opposing party may dispute all or only a portion

    25   of the allegedly undisputed fact, but if disputing only a portion, the opposing party

    26   must specify clearly what portion is being disputed.

    27        To demonstrate that a fact is disputed, the opposing party shall briefly state

    28   why it disputes the moving party’s allegedly undisputed fact, cite to the relevant

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         exhibit or other evidence controverting the allegedly undisputed fact, and describe
    2    what it is in that exhibit or evidence that controverts the allegedly undisputed fact.
    3         If the opposing party objects to the evidence supporting an allegedly undis-
    4    puted fact, the party shall state in the right hand column the presence of that

    5    objection, by simply stating “Evidentiary Objection.” The specific grounds of
    6    each objection should be included in a separate table.
    7         No legal argument shall be set forth in this document.
    8         The opposing party may also specify additional material facts that bear on
    9    or relate to the issues raised by the moving party, which shall follow the same
    10   two column format described above for the moving party’s Statement of
    11   Uncontroverted Facts. These additional facts shall continue in sequentially
    12   numbered paragraphs (i.e., if the moving party’s last allegedly undisputed fact

    13   was set forth as ¶ 30, then the first new allegedly undisputed fact specified by
    14   the opposing party shall be set forth as ¶ 31).
    15        The moving party, in its reply, shall respond to the additional allegedly
    16   undisputed facts in the same manner and format that the opposing party is
    17   required to adhere to in responding to the moving party’s Statement of

    18   Uncontroverted Facts, as described above.
                                          SGD Example
    19
          SUF # / Moving Party’s Undisputed                Reply
    20
          Fact/Evidence
    21    #1 (Moving party’s first undisputed fact)        State whether the moving party’s
                                                           fact is disputed or undisputed.
    22
          (moving party’s citations to supporting          (citations to supporting evidence)
    23    evidence)
                                                     (note if there is an evidentiary
    24                                               objection)
    25    #2 (Moving party’s second undisputed fact) State whether the moving party’s
                                                     fact is disputed or undisputed.
    26
          (moving party’s citations to supporting          (citations to supporting evidence)
    27    evidence)
                                                           (note if there is an evidentiary
    28                                                     objection)

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                     C.   Supporting Evidence
    2         Evidence in support of or in opposition to a motion shall be presented to the
    3    Court in a way that makes it easy for the Court to find cited evidence. For instance,
    4    the parties should make generous use of tabs and indices for hard copies of

    5    exhibits. The parties should highlight the testimony or portions of exhibits on
    6    which they are relying.
    7         If a deposition is cited extensively, the parties should lodge a copy of the
    8    deposition transcript with the Court.
    9                D.   Objections to Evidence
    10        If a party disputes a fact based in whole or in part on an evidentiary objection,
    11   the party should file a separate document entitled “Objections to Evidence Offered
    12   in Support of [Party’s] [Motion/Opposition].” The Objections to Evidence should be

    13   filed in conjunction with the opposition or reply brief of the party. The document
    14   should be organized to track the row numbers of the other party’s separate statement
    15   in sequence. It should identify the specific item of evidence to which objection is
    16   made, the ground of the objection, and a very brief argument with citation to
    17   authority as to why the objection is well taken.

    18                             Evidentiary Objections Example 1
    19   Moving Parties Undisputed Fact/Evidence            Evidentiary Objection
    20   #1 (Moving party’s first undisputed fact)          Objection to the supporting

    21                                                      deposition transcript of Jane Smith

                                                            at 60:1-10 on the ground that the
    22
                                                            statement constitutes inadmissible
    23
                                                            hearsay and no exception is
    24     Jane Smith Dep. 60:1−10; Lee Decl. Ex. E applicable. To the extent that the
    25     (Disclosure Agreement § 2)                       statement is offered to prove her

    26                                                      state of mind, it is irrelevant since

                                                            her state of mind is not in issue.
    27
                                                            Fed. R. Evid. 801, 802.
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              Alternately, if the evidentiary objection(s) is/are particularly lengthy (over
    2    100 words), the party may lodge its objections in a standard memo-format.
    3    However, this memorandum must specifically cite the SUF number.
    4                              Evidentiary Objections Example 2

    5               Statement of Uncontroverted Facts #3: Objection to the supporting
    6               deposition transcript of Jane Smith at 60:1-10 on the ground that the
    7               statement constitutes inadmissible hearsay and no exception is applicable.
    8
    9               [Lengthy legal argument]
    10
    11              To the extent that the statement is offered to prove her state of mind, it is
    12              irrelevant since her state of mind is not in issue. Fed. R. Evid. 801, 802.

    13               E.    Filing Statements of Fact
    14        In addition to filing statements of fact, the Parties should email the Statement
    15   of Uncontroverted Facts and Statement of Genuine Disputes in Word or
    16   Excel format to DOC_Chambers@cacd.uscourts.gov.
    17        VIII. Final Pretrial Conference

    18        A Final Pretrial Conference (“FPTC”) has been scheduled in this case

    19   pursuant to Federal Rule of Civil Procedure 16 and the Local Rules. Unless

    20   excused for good cause, each party appearing in this action shall be represented
    21   at the FPTC and all pretrial meetings of counsel by lead counsel.
    22        A continuance of the Final Pretrial Conference at counsel’s request or
    23   stipulation is highly unlikely. Counsel should plan to do the necessary pretrial
    24   work on a schedule which will ensure its completion with time to spare before the

    25   Final Pretrial Conference. Failure to complete discovery work is not grounds for

    26   a continuance. The Court has a crowded docket and to displace another case
    27   already set for trial in favor of a case in which counsel have not been diligent in
    28   preparing their case would not be just.

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                     A.    Memoranda of Contentions of Fact and Law and Final
    2                      Pretrial Conference Order
    3          Compliance with the requirements of Local Rule 16 is required by the Court.
    4    Carefully prepared Memoranda of Contentions of Fact and Law (which may also

    5    serve as the trial brief) and a proposed Final Pretrial Conference Order (“FPTCO”)
    6    shall be submitted in accordance with the provisions of Local Rules 16-4 through
    7    16-7. The Memoranda of Contentions of Fact and Law are due twenty-one (21)
    8    days before the FPTC and the proposed FPTCO is to be lodged eleven (11) days
    9    before the FPTC. The form of the proposed Final Pretrial Conference Order shall
    10   be in conformity with the format set forth in Appendix A to Local Rules. Adherence
    11   to the time requirements is necessary to provide the Court and its staff time to
    12   prepare the matter.

    13         In drafting the FPTCO, the Court expects that counsel will attempt to agree on
    14   and set forth as many uncontested facts as possible. The Court will normally
    15   read the uncontested facts to the jury at the start of the trial. A carefully drafted
    16   and comprehensively stated stipulation of facts will reduce the length of trial and
    17   increase jury understanding of the case.

    18         At the FPTC, counsel should be prepared to discuss means of streamlining

    19   the trial, including, but not limited to: bifurcation, presentation of non-critical

    20   testimony by deposition excerpts, stipulations as to the content of testimony,
    21   presentation of testimony on direct examination by declaration subject to cross-
    22   examination, and qualification of experts by admitted resumes. In rare cases in
    23   which the Court waives the FPTC, counsel must follow Local Rules 16-11.
    24               B.    Motions in Limine

    25         All motions in limine must be filed eleven (11) days prior to the FPTC.

    26   Oppositions to motions in limine must be filed no later than seven (7) days prior
    27   to the FPTC. Motions in limine will typically be heard at the FPTC.
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               IX.    Trial
    2          Parties should note that the Court may advance the trial date by up to two
    3    weeks.
    4                 A.      Statement of the Case (Jury Trials)

    5          At least seven (7) days prior to trial, the parties shall prepare a joint statement
    6    of the case which will be read by the Court to the prospective panel of jurors
    7    prior to the commencement of voir dire. The statement should typically be a
    8    few sentences in length.
    9                 B.      Voir Dire (Jury Trials)
    10         At least seven (7) days prior to trial, each party shall file and serve on
    11   opposing parties any special questions requested to be put to prospective jurors
    12   on voir dire.

    13                C.      Proposed Jury Instructions (Jury Trials)
    14         Proposed jury instructions must be filed seven (7) days prior to trial, in
    15   accordance with Local Rule 51. Parties should cite relevant authorities for each
    16   instruction, e.g., CACI, Ninth Cir. Model Jury Instructions. The parties should
    17   exchange proposed jury instructions and agree as much as possible on the

    18   necessary instructions before filing them with the Court. Both parties should

    19   submit their proposed jury instructions (preferably in Word format) to the Court

    20   at DOC_Chambers@cacd.uscourts.gov. In addition, parties should bring copies
    21   of their proposed jury instruction, printed on single-sided paper, with them on
    22   the first day of trial.
    23                D.      Findings of Fact and Conclusions of Law (Bench Trials)
    24         The parties shall serve and lodge proposed findings of fact and conclusions

    25   of law at least seven (7) days prior to trial and in accordance with Local Rule 52.

    26   The parties should submit their proposed findings of fact and conclusions of law
    27   (preferably in Word format) to the Court at DOC_Chambers@cacd.uscourts.gov.
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                         E.   Proposed Verdict Form
    2          At least seven (7) days prior to trial, the parties shall file their proposed verdict
    3    forms. The Court typically does not use special verdict forms. The parties should
    4    exchange proposed verdict forms and agree as much as possible to the form

    5    before filing. The parties should submit the proposed verdict form (in Word format)
    6    to the Court at DOC_Chambers@cacd.uscourts.gov.
    7                    F.   Exhibits
    8          A joint exhibit list must be filed at least twenty-one (21) days prior to the Final
    9    Pretrial Conference in accordance with Local Rule 16-6.1. Parties should also
    10   submit their joint exhibit list (in Word format) to the Court at
    11   DOC_Chambers@cacd.uscourts.gov.
    12         Exhibits are to be delivered to the Courtroom Deputy Clerk not later than

    13   8:30 a.m. on the first day of trial. All exhibits will be placed in loose leaf binders
    14   which are tabbed down the right side with exhibit numbers. The spine of the binder
    15   is to be marked with the case name and number and the numbers of the exhibits
    16   contained therein.
    17         Two binders will be prepared: (1) an original for the Clerk, which will be

    18   tagged with the appropriate exhibit tags in the upper right-hand corner of the first

    19   page of each exhibit, and (2) one copy for the Court. Each binder will contain an

    20   index of the exhibits included.
    21         The exhibits are to be numbered in accordance with Local Rule 26-3. Counsel
    22   may obtain exhibit tags (yellow for plaintiff and blue for defendant) at the Clerk’s
    23   Office, Intake Window. Special arrangements for voluminous or oversized exhibits
    24   should be made with the Courtroom Deputy Clerk by Wednesday of the week

    25   before trial.

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               After the conclusion of trial, parties must take their exhibits with them after
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          signing a release. If the parties do not take their exhibits, the Court will dispose
    3     of exhibits after fourteen (14) days.
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    6        IT IS SO ORDERED.
    7
    8    Dated: June 14, 2018
                                              David O. Carter
    9                                         United States District Judge
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